Case 1:04-cv-OllO7-.]DT-STA Document 18 Filed 05/18/05 Page 1 of 2 Page|D 22

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IN THE UNITED sTArEs DISTRICT coURT@$/y `
FoR THE WESTERN DISTRICT oF TENNESSEE 4»"/6, 00

EASTERN DIVISION mj`/U.Q;_m ’7 3.
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GEORGE GORDON, ) "v/¢!€fi;?(:)/Cf
) 'V
Plaintiff, )
)
VS. ) No. 04-1 107-T-An
)
QUENTON WHITE, et al., )
)
Defendants. )

 

ORDER GRANTING MOTION TO TAKE DEPOSITION OF PRISONER

 

Defendants have filed a motion pursuant to Federal Rule of Civil Procedure 30 to
take Plaintiff‘ s deposition. Defendants are seeking the court‘s permission to depose Plaintiff
because Plaintiff is incarcerated in a Tennessee Department of Correction facility.
Defendants' motion to taken Plaintifi‘s deposition is GRANTED provided that prior
arrangements are made With the warden or his designated representative to insure
compliance with the facility's security regulations

IT IS SO ORDERED.

 

 

JAM D. TODD
UN ED STATES DISTRICT JUDGE

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DATE l

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with Rule 58 and,'or_?$ (a) FHCP on {2§ '.?O ' O,§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:04-CV-01107 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

ESSEE

 

Brent Long

Northwest Correctional Complex7 Site 2
960 State Rt. 212

Tiptonville7 TN 38079

Pamela S. Lorch

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

George Gordon

HARDEMAN COUNTY CORRECTIONAL FACILITY
90017

P.O. Box 679

Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

